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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

            Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  ______________________/

                          ORDER AMENDING SCHEDULING ORDER

            THIS CAUSE is before the Court upon Plaintiffs’ Expedited Motion for Enlargement of

  Time of Expert Related Deadlines and for Extension of Time to Complete Three Fact Witness

  Depositions, ECF No. [436] (“Motion”). Defendant filed his response, ECF No. [439]

  (“Response”). The Court has reviewed the Motion, the Response, the record in the case, the

  applicable law, and is otherwise fully advised. For the reasons that follow, the Motion is granted

  in part and denied in part.

            I.      BACKGROUND

            On January 16, 2020, the Court entered an order that granted Plaintiffs the right to

  propound seven interrogatories on Defendant and which amended the Court’s Scheduling Orders.

  See ECF No. [382]. Under the present schedule, expert witness summaries or reports are to be

  disclosed by March 27, 2020, all discovery is to be completed by April 17, 2020, all pre-trial

  motions are to be filed by May 4, 2020, a joint pre-trial stipulation is due by June 15, 2020, calendar

  call is set for June 30, 2020, and trial is scheduled for the trial calendar beginning on July 6, 2020.

  See id.
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         Since that time, a global pandemic caused by the COVID-19 virus has spread across the

  world and has caused extensive logistical problems for businesses on a nationwide scale, including

  courts throughout the nation. Plaintiffs now move to enlarge certain pre-trial deadlines and to

  extend the time to complete three fact witness depositions. Plaintiffs represent that COVID-19 is

  presenting numerous complications in meeting deadlines that were set forth before the pandemic’s

  onset. Specifically, New York and Florida have imposed restrictions on business operations and

  travel, all attorney offices are closed with limited support staff, and that while they have tried

  diligently to comply with their obligations related to the expert deadlines, the current limitations

  present significant hurdles. They represent that they have made good faith efforts to comply with

  the Court’s discovery deadlines. However, three fact witness depositions remain. 1 Mr. Sullivan

  has challenged the subpoena served on him, and the motion to quash has been briefed and is

  currently pending in federal court in New York. Mr. Lowe has been served but he intends to file a

  motion to quash sometime this week. Mr. Nguyen has not been located and has yet to be served

  by process servers despite attempts made since February 14, 2020, which has led Plaintiffs to

  believe that he is evading service and/or traveling outside the country. 2 Consequently, Plaintiffs

  seek to take these three depositions after the close of fact discovery, if necessary.

         In response, Defendant asserts that Plaintiffs have not shown how the COVID-19 virus is

  impeding their ability to timely prepare their expert disclosures by March 27 or complete the

  depositions by April 17, and that “virtual offices do not prevent counsel from getting work done.”



  1 The Motion does not list the names of all of the individuals, but the Response indicates that
  remaining deponents are Brendan Sullivan, Marc Lowe, and Jimmy Nguyen. See ECF No. [439].
  2 Plaintiffs represent that if they cannot serve Mr. Nguyen shortly, they will seek the Court’s
  assistance. The Court declines Plaintiffs’ invitation. First, it is unclear what assistance the Court
  can grant Plaintiffs, and second, at no time since the case originated in February 2018 have they
  sought assistance related to serving Mr. Nguyen.


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  See ECF No [439] at 1. He opines that Plaintiffs “have made a habit of asking this Court to extend

  the discovery deadline on the eve of the cutoff date,” and posits that no more extensions are

  appropriate. Id. at 2. He further adds that Mr. Sullivan’s motion has been pending for seven

  months, Mr. Lowe was served only a week ago, and Plaintiffs have known about Mr. Nguyen since

  the case’s inception but have only waited until recently to try to serve him. Defendant concludes

  that extending pre-trial deadlines in the manner requested by Plaintiffs impairs his ability to

  prepare for trial.

          II.     DISCUSSION

          Upon review and consideration, the Court finds good cause to amend the Scheduling Order,

  ECF No. [382], pursuant to Rule 16(b)(4), Fed. R. Civ. P., in light of the COVID-19 global

  pandemic, the profound logistical issues affecting Florida and New York residents, businesses,

  and courts, and the issues surrounding the three outstanding fact witness depositions, which are

  unlikely to be resolved before the current discovery deadline. The Court recognizes the present

  difficulties of working remotely with limited staff and resources against the COVID-19 backdrop.

  Indeed, a national emergency has been declared by President Trump, the State of New York has

  been particularly crippled by the outbreak, and courts and other workforces across the nation are

  stretched thin. In this setting, it is therefore appropriate to amend the current deadlines.

          III.    CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [436], is

  GRANTED IN PART AND DENIED IN PART. The Scheduling Order, ECF No. [382], is

  AMENDED as set forth below. The parties shall adhere to the following schedule:



   April 10, 2020           Parties to disclose expert witness summaries or reports or disclose new
                            experts with summaries/reports



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   April 17, 2020         Parties exchange any rebuttal expert summaries or reports

   May 1, 2020            All discovery, including fact and expert discovery, shall be completed

   May 8, 2020            All pre-trial motions, motions in limine, and Daubert motions (which
                          include motions to strike experts) are filed. This deadline includes all
                          dispositive motions. Each party is limited to filing one motion in limine
                          and one Daubert motion. If all evidentiary issues cannot be addressed in
                          a 20-page memorandum, leave to exceed the page limit will be granted.
                          The parties are reminded that motions in limine must contain the
                          Local Rule 7.1(a)(3) certification.

         All other deadlines set forth in the Scheduling Order, ECF No. [382], remain in place.

         DONE AND ORDERED in Chambers at Miami, Florida, on March 25, 2020.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
  Copies to:

  Counsel of Record




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